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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit G
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                                                                        Page 1

 1                        UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
 2                              COLUMBIA DIVISION
 3         THE SOUTH CAROLINA
           STATE CONFERENCE OF
 4         THE NAACP, et al,
 5                         Plaintiffs,
 6                  vs.                    CASE NO.
                                           3:21-CV-03302-MBS-TJH-RMG
 7         THOMAS C. ALEXANDER,
           et al,
 8
                           Defendants.
 9
10         VIDEOCONFERENCE
11         DEPOSITION OF:      WILLIAM ROBERTS
12         DATE:               July 7, 2022
13         TIME:               9:35 a.m.
14         LOCATION:           1310 Gadsden Street
                               Mahogany Conference Room
15                             Columbia, SC
16         TAKEN BY:           Counsel for the Plaintiffs
17         REPORTED BY:        ERIC GLAZIER, Court Reporter
18
19
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21
22
23
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25

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                                                                     Page 252

 1                       Do you recall that?
 2                  A.   Yes.
 3                  Q.   Did I ever draw any maps?
 4                  A.   No.
 5                  Q.   Did I ever direct the drawing of any
 6         district lines?
 7                  A.   No.
 8                  Q.   Did I ever share any maps that someone
 9         else had drawn?
10                  A.   No.
11                  Q.   Okay.
12                       Mr. Cusick asked you about public
13         comments that the redistricting project was rigged.
14         Do you remember that conversation?
15                  A.   Yes, I do.
16                  Q.   Do you think the process was rigged?
17                  A.   No.
18                  Q.   How would you describe the process?
19                  A.   I'd say it was a pretty transparent
20         process as far as the map drawing and the
21         information that's available to the public.                    I'd
22         say that politics really drove the decisions that
23         were made on the map.
24                  Q.   Can you elaborate on that?
25                  A.   Senator Campsen really played a large

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                                                                       Page 253

 1         role in determining which map made it to the
 2         full -- to the -- out of subcommittee, and he
 3         really wrestled with the fact that, you know, he
 4         was moving a large chunk of Charleston out of the
 5         first congressional district, which was his home
 6         county.        And he was having to determine, do I want
 7         more of Charleston or do I want more republican
 8         representation in the first congressional district.
 9         And so that was a real political decision he had to
10         make.
11                   Q.      And did he ever tell you which decision
12         he made?
13                   A.      Yes, he did.        He told me he was going
14         with the plan that had the higher Trump percentage
15         over more of Charleston.
16                   Q.      Now, earlier this morning, you
17         discussed whether you considered BVAP with
18         Mr. Cusick.
19                           Do you remember that?
20                   A.      Yes.
21                   Q.      And he asked you whether considering
22         BVAP is helpful in drawing a plan and whether you
23         did on past clients.
24                           Do you remember that?
25                   A.      Yes.

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 1                  A.    Considered those were recommendations
 2         by the congressional members, as the criteria was
 3         adopted by the subcommittee.
 4                  Q.    And did complying with those
 5         recommendations or implementing those
 6         recommendations require you to violate any of the
 7         criteria in the senate redistricting guidelines?
 8                  A.    That's going to be up to the legal team
 9         to decide.
10                  Q.    Were there districts other than
11         District Six that experienced only minimal changes
12         in the plan?
13                  A.    District Seven was really a
14         minimal-change plan.        We just balanced the
15         population out.     Didn't have to do too much because
16         the population broke in Horry County and in the
17         coastal region of South Carolina.
18                  Q.    How about District Two?
19                  A.    District Two had minor modifications,
20         not too much at all.        The biggest swap was going to
21         be between District One and Six.
22                  Q.    And how about District Three, was that
23         a minimal-change district?
24                  A.    I believe so.        We split -- we fixed
25         some precinct splits that were in that area and

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